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 7                         UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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11                                            Case No.: 2:20-cv-00405-MCS-PLA
        SECURITIES AND EXCHANGE
12      COMMISSION,
                                              FINAL JUDGMENT AS TO
13                  Plaintiff,                DEFENDANT STEPHEN
14                                            KENNETH GROSSMAN
              vs.
15
        GREGORY LAMONT DRAKE, an
16      individual; STEPHEN KENNETH
        GROSSMAN, an individual;
17      STEPHEN SCOTT MOLESKI, an
18      individual; JASON DAVID ST.
        AMOUR, an individual; and DAVID
19      ALAN WOLFSON, an individual,
20                  Defendants.
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 1            This matter came before the Court on plaintiff United States Securities and
 2    Exchange Commission’s (“Commission’s”) Motion for Monetary Remedies as to
 3    Defendant Stephen Kenneth Grossman. The Court, having considered all the
 4    evidence and arguments presented by the parties with regard to the Motion,
 5    Plaintiff’s Memorandum of Points and Authorities in support of the Motion, all
 6    other documents filed in support of the Motion, and the record in this action, finds
 7    that:
 8                                               I.
 9            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
10    Commission’s Motion for Monetary Remedies as to Defendant Stephen Kenneth
11    Grossman is GRANTED.
12                                              II.
13            IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
14    that Defendant is permanently restrained and enjoined from violating, directly or
15    indirectly, Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)] by using
16    any means or instrumentality of interstate commerce, or of the mails, or of any
17    facility of any national securities exchange, to effect transactions in, or induce or
18    attempt to induce the purchase or sale of, securities while not registered with the
19    Commission as a broker or dealer or while not associated with an entity registered
20    with the Commission as a broker or dealer.
21            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
22    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
23    binds the following who receive actual notice of this Judgment by personal service
24    or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
25    and (b) other persons in active concert or participation with Defendant or with
26    anyone described in (a).
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 1                                             III.
 2          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
 3    that Defendant is permanently restrained and enjoined from, directly or indirectly,
 4    including, but not limited to, through any entity owned or controlled by Defendant,
 5    soliciting any person or entity to purchase or sell any security.
 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
 7    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
 8    binds the following who receive actual notice of this Judgment by personal service
 9    or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
10    and (b) other persons in active concert or participation with Defendant or with
11    anyone described in (a).
12                                             IV.
13          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
14    that Defendant is ordered to pay disgorgement of $289,078.74, representing net
15    profits gained and net losses avoided as a result of the conduct alleged in the
16    Complaint, together with prejudgment interest thereon in the amount of
17    $49,515.71. The Court further imposes a civil penalty in the amount of $195,047
18    pursuant to Section 21(d)(3) of the Exchange Act, 15 U.S.C. § 78u(d)(3).
19    Defendant shall satisfy these obligations by paying the amount of disgorgement,
20    pre-judgment interest, and civil penalty, totaling $533,641.45, to the Securities and
21    Exchange Commission within 30 days after entry of this Final Judgment.
22          Defendant may transmit payment electronically to the Commission, which
23    will provide detailed ACH transfer/Fedwire instructions upon request. Payment
24    may also be made directly from a bank account via Pay.gov through the SEC
25    website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by
26    certified check, bank cashier’s check, or United States postal money order payable
27    to the Securities and Exchange Commission, which shall be delivered or mailed to
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 1          Enterprise Services Center
 2          Accounts Receivable Branch
 3          6500 South MacArthur Boulevard
 4          Oklahoma City, OK 73169
 5    and shall be accompanied by a letter identifying the case title, civil action number,
 6    and name of this Court; Stephen Kenneth Grossman as a defendant in this action;
 7    and specifying that payment is made pursuant to this Final Judgment.
 8          Defendant shall simultaneously transmit photocopies of evidence of
 9    payment and case identifying information to the Commission’s counsel in this
10    action. By making this payment, Defendant relinquishes all legal and equitable
11    right, title, and interest in such funds and no part of the funds shall be returned to
12    Defendant.
13          The Commission shall hold the funds (collectively, the “Fund”) until further
14    order of this Court. The SEC may propose a plan to distribute the Fund subject to
15    the Court’s approval, and the Court shall retain jurisdiction over the administration
16    of any distribution of the Fund.
17          The Commission may enforce the Court’s judgment for disgorgement and
18    prejudgment interest by using all collection procedures authorized by law,
19    including, but not limited to, moving for civil contempt at any time after 30 days
20    following entry of this Final Judgment.
21          The Commission may enforce the Court’s judgment for penalties by the use
22    of all collection procedures authorized by law, including the Federal Debt
23    Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil
24    contempt for the violation of any Court orders issued in this action. Defendant
25    shall pay post judgment interest on any amounts due after 30 days of the entry of
26    this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the
27    funds, together with any interest and income earned thereon (collectively, the
28    “Fund”), pending further order of the Court.

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 1          The Commission may propose a plan to distribute the Fund subject to the
 2    Court’s approval. Such a plan may provide that the Fund shall be distributed
 3    pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act
 4    of 2002. The Court shall retain jurisdiction over the administration of any
 5    distribution of the Fund and the Fund may only be disbursed pursuant to an Order
 6    of the Court.
 7          Regardless of whether any such Fair Fund distribution is made, amounts
 8    ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
 9    penalties paid to the government for all purposes, including all tax purposes. To
10    preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or
11    reduction of any award of compensatory damages in any Related Investor Action
12    based on Defendant’s payment of disgorgement in this action, argue that he is
13    entitled to, nor shall he further benefit by, offset or reduction of such compensatory
14    damages award by the amount of any part of Defendant’s payment of a civil
15    penalty in this action (“Penalty Offset”). If the court in any Related Investor
16    Action grants such a Penalty Offset, Defendant shall, within 30 days after entry of
17    a final order granting the Penalty Offset, notify the Commission’s counsel in this
18    action and pay the amount of the Penalty Offset to the United States Treasury or to
19    a Fair Fund, as the Commission directs. Such a payment shall not be deemed an
20    additional civil penalty and shall not be deemed to change the amount of the civil
21    penalty imposed in this Judgment. For purposes of this paragraph, a “Related
22    Investor Action” means a private damages action brought against Defendant by or
23    on behalf of one or more investors based on substantially the same facts as alleged
24    in the Complaint in this action.
25                                              V.
26          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
27    that, solely for purposes of exceptions to discharge set forth in Section 523 of the
28    Bankruptcy Code, 11 U.S.C. §523, the allegations in the complaint are true and

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 1    admitted by Defendant, and further, any debt for disgorgement, prejudgment
 2    interest, civil penalty or other amounts due by Defendant under this Final
 3    Judgment or any other judgment, order, consent order, decree or settlement
 4    agreement entered in connection with this proceeding, is a debt for the violation by
 5    Defendant of the federal securities laws or any regulation or order issued under
 6    such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.
 7    §523(a)(19).
 8                                              VI.
 9          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
10    that this Court shall retain jurisdiction of this matter for the purposes of enforcing
11    the terms of this Final Judgment.
12                                             VII.
13          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
14    Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment
15    forthwith and without further notice.
16
17     Dated: October 7, 2021
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19                                                    MARK C. SCARSI
                                                      UNITED STATES DISTRICT JUDGE
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